Case 1:05-cv-00377-WDM-BNB Document 157-10 Filed 02/12/07 USDC Colorado Page 1 of
                                      11
Case 1:05-cv-00377-WDM-BNB Document 157-10 Filed 02/12/07 USDC Colorado Page 2 of
                                      11
Case 1:05-cv-00377-WDM-BNB Document 157-10 Filed 02/12/07 USDC Colorado Page 3 of
                                      11
Case 1:05-cv-00377-WDM-BNB Document 157-10 Filed 02/12/07 USDC Colorado Page 4 of
                                      11
Case 1:05-cv-00377-WDM-BNB Document 157-10 Filed 02/12/07 USDC Colorado Page 5 of
                                      11
Case 1:05-cv-00377-WDM-BNB Document 157-10 Filed 02/12/07 USDC Colorado Page 6 of
                                      11
Case 1:05-cv-00377-WDM-BNB Document 157-10 Filed 02/12/07 USDC Colorado Page 7 of
                                      11
Case 1:05-cv-00377-WDM-BNB Document 157-10 Filed 02/12/07 USDC Colorado Page 8 of
                                      11
Case 1:05-cv-00377-WDM-BNB Document 157-10 Filed 02/12/07 USDC Colorado Page 9 of
                                      11
Case 1:05-cv-00377-WDM-BNB Document 157-10 Filed 02/12/07 USDC Colorado Page 10
                                     of 11
Case 1:05-cv-00377-WDM-BNB Document 157-10 Filed 02/12/07 USDC Colorado Page 11
                                     of 11
